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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

             UNITED STATES OF AMERICA                 :
                                                      :
                   v.                                 :    CRIMINAL CASE NO.
                                                      :
             MARK CONNER,                             :    1:11-CR-121-SCJ
                                                      :
                   Defendant.                         :
                                                      :


                                                ORDER

                   This matter appears before the Court on the Government’s Motion to

             Return Funds to Garnishee (Doc. No. [338]), which the Court construes as a

             request for a disbursement (from the registry) order requiring compliance with

             the certification procedures of Local Rule 67.1. The proposed order presented by

             the Government does not show that it has undergone the Clerk’s

             Office/Financial Department’s certification procedure. To this regard, Counsel

             for the Government is hereby ORDERED to comply with Local Rule 67.1 and

             obtain certification by Financial Deputy Clerk, Peter Tran (404-215-1626). The

             Government shall thereafter present the certified order to the Court for review.

                         IT IS SO ORDERED, this 26th day of October, 2016.

                                             s/Steve C. Jones
                                             HONORABLE STEVE C. JONES
                                             UNITED STATES DISTRICT JUDGE




AO 72A
(Rev.8/82)
